
Per curiam.
Thomas C. Jones, Jr. was charged with violating Standard 66 of State Bar Rule 4-102. He admits the violation of this Standard in that he entered a plea of guilty in the U. S. District Court for the Northern District of Georgia on the 2nd day of May 1985 to crimes involving moral turpitude. In keeping with Standard 66, a member of the State Bar of Georgia may be disbarred upon conviction of a crime involving moral turpitude. Prior to the finding of probable cause by the State Disciplinary Board, Mr. Jones filed with the State Disciplinary Board a petition for voluntary surrender of license to practice law. The Board recommends that the petition be granted. This recommendation is approved.

All the Justices concur.

